Case 2:18-cv-11479-BRM-ESK Document5 Filed 04/20/18 Page 1 of 2 PagelD: 207

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

ALETHA BENTELE, et al.

 

 

 

 

 

Plaintifi(s)
Case No.: 4 1 8-CV-001 68
v.

ELI LILLY AND.COMPANY

Defendant(s)

MOTION FOR ADMISSION PRO HAC VICE
I, Stephen M. Prignano , am a member in good standing of the bar of this
g

Court. I am moving for the admission of Attorney Hannah Brennan to

 

plaintiffs

 

appear pro hac vice in this case as counsel for
I certify that I have reviewed the below information provided by the prospective admittee. |
acknowledge and agree to observe the requirements of LR Gen 204 in its entirety and as it relates to the

participation and responsibilities of local counsel.

LOCAL COUNSEL: /? fi .
Stephen M. Prignano Ly. Aa Zh a>

 

 

 

 

 

 

 

 

 

 

 

Name “Signature

3649 04/19/2018

Bar Number Date

McIntyre Tate LLP (401) 351-7700
Firm/Agency Telephone Number

321 South Main St., Ste. 400 (401) 331-6095
Address Fax Number
Providence, RI 02903 smp@mitlesq.com
City, State, Zip Code E-mail Address

 

lam a member in good standing of the bar of every state and federal court to which | have been admitted,
and my eligibility to practice before those courts has not been restricted in any way (Jist courts below.)

 

 

 

 

State or Federal Court Admission Date - 4) State or Federal Court Admission Date
United States District Court of Massachusetts 02/14/2017 a :
Commonwealth of Massachusetts 12/11/2013 Bed
United States Court of Appeals for the Third Circuit 06/28/2016 ey]

 

 

 

 

 

 

 

 
Case 2:18-cv-11479-BRM-ESK Document5 Filed 04/20/18 Page 2 of 2 PagelD: 208

 

If you answer yes to any of the below questians, you must provide a full explanation as an attachment.

Have you ever been disciplined or sanctioned by any court or other
body having disciplinary authority over attorneys?

YES

YES.

LI

YES

Are there any disciplinary proceedings pending against you at this
time? ~

Has your pro hac vice status ever been revoked by any court?

Excluding traffic violations punishable by fine only, have you ever YES
been convicted of, or entered a plea of no contest to, any crime?

YES
Are there any criminal charges pending against you at this time? [|

Ke Rie We Ke Ke

 

For the purpose of this case, I have associated with local counsel identified in this motion, and have read,
acknowledge, and will observe the requirements of this Court respecting the participation of local
counsel, as set out in LR Gen 204, recognizing that failure to do so may result inmy being disqualified,
either upon the Court’s motion or motion of other parties in the case.

lt understand my obligation to notify this Court of any changed circumstances that affect my answers to
the questions contained within this motion.

I have read, acknowledge, and agree to observe and be bound by the local rules and orders of this Court,
including the Rules of Professional Conduct of the Rhode Island Supreme Court, as adopted by this Court
as the standard of conduct for all attorneys appearing before it. I hereby certify that the foregoing is true
and correct.

Respectfully submitted,

 

 

 

 

 

PROSPECTIVE ADMITTEE:

Hannah Brennan

Name ignature

Hagens Berman Sobol Shapiro LLP (61 7) 482-3700
Firm/Agency Telephone Number

55 Cambridge Parkway, Ste. 301 (617) 482-3003

Address Fax Number

Cambridge, MA 02142 hannahb@hbsslaw.com

 

 

City, State, Zip Code , E-mail Address
